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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                             *********************

Jose Elias Disla Rodriguez, Jhonny Diaz Muñoz,                Civil No. 22-1462 (DSD/LIB)
Cirilo Garcia Garcia, Jose Vargas Guaba,
Eugenio Muñoz Cabrera, Jose Joaquin Disla,
Edward Jose Castillo Olivo, Nicolas Cabrera
Castillo, Yeudy Genao Valerio, Luciano Marte,
Eladio Lopez Cruz, Leonel Bonilla, Manuel
Andres Mezquita Almonte, Antonio Alvarez,               PRETRIAL SCHEDULING ORDER
Nicholas Cruz Disla, Antonio Cabrera, Maximo
Bienvenido Cabrera Paulino, Modesto Castillo,
Roberto Cabrera Disla, Ricardo Cabrera Guzman,
Elvis Jacinto Hernandez Delgado, Luis Ramon
Perez Paulino, Jose Antonio Cabrera Ruales,
Oscarin Muñoz Cabrera,

       Plaintiffs,
v.

John J. Svihel, Svihel Vegetable Farms, Inc.,

       Defendants.

                             *********************

       In accordance with the provisions of Rule 16, Federal Rules of Civil Procedure, and the

Local Rules of this Court, to administer the course of this litigation in a manner which promotes

the interests of justice, economy and judicial efficiency, the following Pretrial Schedule will

govern these proceedings. The Schedule may be modified only upon formal Motion and a

showing of good cause as required by Local Rules 7.1 and 16.3.

       Counsel shall also comply with the Electronic Case Filing Procedures For the District

of Minnesota, pursuant to Order Adopting Electronic Case Filing, dated May 13, 2004.

       THEREFORE, It is –

       ORDERED:

                                                I.
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       That all pre-discovery disclosures required by Rule 26(a)(1) shall be completed on or

before October 31, 2022. The period during which the parties must conduct all discovery (whether

fact or expert) shall terminate on December 31, 2023. 1 Disputes with regard to pre-discovery

disclosures or discovery shall be called immediately to the Court’s attention by the making of an

appropriate Motion, and shall not be relied upon by any party as a justification for not adhering to

this Pretrial Scheduling Order. No further or additional discovery shall be permitted after the

above date except upon motion and by leave of the Court for good cause shown, and any

independent Stipulations or agreements between counsel which contravene the provisions of this

Order will not be recognized. However, upon agreement of counsel, or with leave of the Court,

depositions in lieu of in-Court testimony may be taken after the close of discovery.

                                                II.

       That all Motions which seek to amend the pleadings or add parties must be filed and the

Hearing thereon completed on or before January 10, 2023. 2

                                                III.

       That all other nondispositive Motions shall be filed and the Hearing thereon completed

prior to January 31, 2024, by calling Jennifer Beck at 218-529-3520, Courtroom Deputy for

Magistrate Judge Leo I. Brisbois. All nondispositive Motions shall be scheduled, filed and served

in compliance with Local Rule 7.1(a) and (b) of the Electronic Case Filing Procedures For The

District of Minnesota. No discovery Motion shall be heard unless the moving party complies with

the requirements of Local Rule 37.1.


1
       See Local Rule 16.2(d)(3) of the United States District Court For The District of Minnesota
Local Rules.
2
       This deadline does not apply to motions to amend pleadings to assert a claim for punitive
damages. Motions which seek to assert claims for punitive damages must be filed and the Hearing
thereon completed prior to the discovery deadline in Paragraph I.
                                                2
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                                                IV.

       A Settlement Conference pursuant to Local Rule 16.5(b) in the above-entitled matter will

be set before Magistrate Judge Leo I. Brisbois, for some time in April 2024, 10:00 a.m. in

Courtroom No. 3, Gerald W. Heaney Federal Building and U.S. Courthouse, 515 West First Street,

Duluth, Minnesota. A separate Notice of this Settlement Conference shall be issued outlining the

parties’ obligations for preparation and for appearance of the Conference.

                                                 V.

       That no more than fifty (50) Interrogatories by Plaintiffs as a group and two hundred fifty-

five (255) Interrogatories by Defendants as a group 3 (counted in accordance with Rule 33(a),

Federal Rules of Civil Procedure), fifty (50) Requests for Production (pursuant to Rule 34), and

fifty (50) Requests for Admissions (pursuant to Rule 36), shall be served by any side.

                                                VI.

       That in addition to a deposition of each named party (real persons) and a 30(b)(6)

deposition of any corporate defendant, no more than seven (7) depositions (excluding expert

depositions) shall be taken by any side without prior Order of the Court.

                                                VII.

       That within the foregoing period allotted for discovery, but no later than the dates set forth

below, the parties shall retain and disclose to opposing counsel all persons they intend to call as

expert witnesses at trial. 4 Each party’s disclosure shall identify each expert and state the subject

matter on which the expert is expected to testify. The disclosure shall be accompanied by a written




3
       The total interrogatories allotted to each side shall be utilized as agreed by the parties in
paragraph C(3)(a) of the Rule 26(f) Report. (Docket No. 17).
4
       This includes any witnesses who were retained for purposes of conducting an examination
pursuant to Rule 35.
                                                 3
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report prepared and signed by the expert witness. 5 As required by Rule 26(a)(2)(B), Federal Rules

of Civil Procedure, the report shall contain:

               a.      The qualifications of the witness, including a list of all
                       publications authored by the witness within the preceding 10
                       years;

               b.      The compensation to be paid for the study and testimony;

               c.      A listing of any other cases in which the witness has testified
                       as an expert at trial or by deposition within the preceding
                       four years;

               d.      A complete statement of all opinions to be expressed and the
                       basis and reasons therefor;

               e.      The data or other information considered by the witness in
                       forming the opinions; and

               f.      Any exhibits to be used as a summary of or support for the
                       opinions.

       The Plaintiffs’ disclosures shall be made on or before August 14, 2032. The Defendants’

disclosures shall be made on or before October 30, 2023.

                                                VIII.

       The parties do contemplate taking expert discovery depositions. No more than one (1)

deposition of each disclosed expert may be taken without prior Order of the Court.

                                                IX.

       That each party shall fully supplement all discovery responses according to Rule 26(e),

Federal Rules of Civil Procedure. Any evidence responsive to a discovery request which has not

been disclosed on or before the discovery cutoff or other dates established herein, except for good

cause show, shall be excluded from evidence at trial.



5
       If no written report is required by Rule 26(a)(2)(B), the disclosures shall still comply with
Rule 26(a)(2)(C).
                                                 4
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                                                X.

       All dispositive motions shall be served and filed on or before March 1, 2024. 6

Notwithstanding the provisions of Local Rules 7.1(c)-(d), the following procedures shall apply to

the dispositive motion7 practice in his case:

       1.      The moving party shall first contact Donna O’Kroy, Judge Doty’s
               Courtroom Deputy, at 612-664-5060, to secure a hearing date at least 42
               days in the future. Once the moving party has secured a hearing date, it
               shall promptly file a notice of motion informing all parties of the nature of
               the motion and the date, time and location of the hearing.

       2.      The moving party shall serve and file the following documents at least
               42 days before the scheduled hearing: (a) motion; (b) memorandum of law,
               and (c) affidavits and exhibits. The party shall provide Donna O’Kroy,
               Courtroom Deputy, with two (2) hard copies of its memorandum and one
               (1) hard copy of any affidavits and exhibits.

       3.      The responding party shall serve and file the following documents at least
               21 days before the hearing: (a) memorandum of law, and (b) affidavits and
               exhibits. The party shall provide Donna O’Kroy, Courtroom Deputy, with
               two (2) hard copies of its memorandum and one (1) hard copy of any
               affidavits and exhibits.

       4.      The moving party shall serve and file the following documents at least 14
               days before the hearing: (a) reply memorandum, or (b) a notice stating that
               no reply memorandum will be filed. A reply memorandum shall not raise

6
        The parties should attempt to schedule dispositive motions after all discovery has been
completed and to schedule all dispositive motions for the same hearing and should strive to avoid
duplication in their briefing. If the parties believe early or piecemeal dispositive motion practice
is necessary, they should seek permission of the District Judge.
7       The following are deemed dispositive motions under this Order: motions for preliminary
or permanent injunctive relief; motions to dismiss, for judgment on the pleadings or for summary
judgment; motions to certify a class action; motions to exclude expert testimony under Daubert v.
Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and/or Federal Rule of Evidence 702;
motions to remand or transfer; and motions to compel arbitration. Absent permission from the
Court, a party moving for a temporary restraining order must file and serve its motions papers, in
addition to the Summons and Complaint, on the proposed-enjoined party before the Court will
entertain the motion. A motion for a temporary restraining order is not subject to the 42-day rule
set forth below, rather, the Courtroom Deputy will advise the parties of the hearing date and
briefing schedule. All motions for injunctive relief and motions to exclude expert testimony will
be handled without live witness testimony absent advance permission from the Court.

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               new grounds for relief or present matters that do not relate to the response.
               The party shall provide Donna O’Kroy, Courtroom Deputy, with two (2)
               hard copies of its reply memorandum.

       5.      If the Court, sua sponte, cancels the hearing or continues the hearing date,
               all subsequently filed motion papers must be served as if the original
               hearing date was still in effect, unless otherwise directed by Judge Doty.

       6.      Parties do not need to meet and confer, as required under Local Rule 7.1(a),
               in advance of filing a dispositive motion, although they are encouraged to
               do so to attempt to narrow the issues presented to the Court.

       All other provisions in Local Rule 7.1 are unaffected by this Order and remain applicable,

including the word limitation in Rule 7.1(f).

                                                XI.

       That this case shall be ready for Trial on July 1, 2024 8, or 30 days after the Court renders

its Order on any dispositive motion (whichever is later), at which time the case will be placed on

the Court’s JURY trial calendar. That the anticipated length of Trial is seven (7) to ten (10) days.

                                                      BY THE COURT:


DATED: September 23, 2022                             s/Leo I. Brisbois
                                                      Hon. Leo I. Brisbois
                                                      U.S. MAGISTRATE JUDGE




8
        THIS DATE IS NOT A TRIAL SETTING DATE. The parties will be notified by the
Calendar Clerk of the assigned Judge to a case by way of a Notice of Trial as to when this case
will be placed on the Trial Calendar. The above date is merely a notice to all parties to consider
the case ready for trial as of this date. DO NOT PREPARE FOR TRIAL UNTIL NOTIFIED.
                                                6
